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4    Attorney for Defendant
5

6                                 IN THE UNITED STATES DISTRICT COURT

7                           FOR THE EASTERN DISTRICT OF CALIFORNIA

8
                                                      )   Case No.: 2:14 CR 0210 JAM
9    UNITED STATES OF AMERICA,                        )
                                                      )
10                   Plaintiff,                       )   STIPULATION REGARDING
                                                      )   EXCLUDABLE TIME PERIODS UNDER
11          vs.                                       )   SPEEDY TRIAL ACT FINDINGS AND
                                                      )   ORDER
12   JAMES CLINE, et al,                              )
                                                      )
13                   Defendant                        )
14
            Plaintiff, United States of America, by and through its counsel of record, and the
15
     defendants, JAMES CLINE and LEONARD WALTER., by and through their counsel of record,
16

17   hereby stipulate as follows:

18          1.       By previous order, this matter was set for status on October 10, 2017

19          2.       By this stipulation, the defendant now moves to continue the status conference

20   until November 14, 2017 at 9:15 a.m., and to exclude time between October 10, 2017 and
21   November 14 2017 under Local Code T4. Plaintiff does not oppose this request.
22
            3.       The parties agree and stipulate, and request that the Court find the following:
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            a.       Defense counsel has been involved in numerous and lengthy trials and has not
24
     had the opportunity to meet with Mr. Cline.
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            b.       Counsel for the defendants believe that failure to grant the above-requested



                                    STIP AND ORDER TO EXTEND TIME - 1
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     continuance would deny him the reasonable time necessary for effective preparation, taking into
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     account the exercise of due diligence.
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3           d.       The government does not object to the continuance.

4           e.       Based on the above-stated findings, the ends of justice served by continuing the

5    case as requested outweigh the interest of the public and the defendants in a trial within the

6    original date prescribed by the Speedy Trial Act.
7           e.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
8
     et seq., within which trial must commence, the time period of October 10, 2017, to November
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     14, 2017, at 9:15 a.m. inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),
10
     B(iv) [Local Code T4] because it results from a continuance granted by the Court at defendant’s
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     request on the basis of the Court's finding that the ends of justice served by taking such action
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     outweigh the best interest of the public and the defendants in a speedy trial.
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                     4.     Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
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16   period within which a trial must commence.

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                                           Respectfully submitted,
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20
     Date:10-5-17                                  By: /s/ Danny D. Brace, Jr.,
21                                                        DANNY D. BRACE, JR.,
                                                          Attorney for
22                                                        James Cline
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     Date: 10-5-17                       By: /s/ Kelly Babineau
1                                        Authorized to sign for Ms.
                                         Babineau on October 5, 2017
2
                                         Attorney for Leonard Walter
3

4    Date: 10-5-17                       By:/s/Jason Hitt
                                         Authorized to sign for Mr. Hitt
5                                        On October 5, 2017
                                         Jason Hitt
6                                        Assistant U.S. Attorney
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8
     IT IS SO ORDERED:
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     Dated: 10/6/2017
10
                                   /s/ John A. Mendez__________________
11                                 Honorable John A. Mendez

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                           STIP AND ORDER TO EXTEND TIME - 3
